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       BASELINE DOCUMENTATION




       WEEHAW
       PLANTATION




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                            NORTH AMERICAN LAND TRUST
                               Conservation Easement
                              Baseline Documentation

                              Weehaw Plantation
                                  Georgetown County,
                                    South Carolina


                       ∼Baseline Documentation Overview∼


 I.     Contact Information

        Mr. Kyle Young
        P.O. Box 2038
        Myrtle Beach. SC
        29578-2038

 II.    Introduction

 The following baseline documentation describes the conservation values and physical
 condition of Weehaw Plantation located in Georgetown County, South Carolina. A
 conservation easement was donated on the property by Larry and Judy Young to North
 American Land Trust on December 29, 1995. The conservation easement area is
 comprised of approximately 788 acres.

 This expansive conservation easement is one of NALT’s most significant protection
 efforts in coastal South Carolina. Located at the confluence of the Great Pee Dee River
 and the scenic Black River, Weehaw Plantation contains nearly 800 acres of pristine
 wetlands and pine dominated uplands that provide valuable habitat for a variety of South
 Carolina indigenous flora and fauna.

 A more detailed description of the conservation values at Weehaw Plantation can be
 found within this baseline documentation in the Habitat Description Report drafted by
 Nick Roark of Ecological Associates, and the Site Visit Report by Chris Wilson,
 NALT’s Conservation Biologist.




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 III.   Conservation Purposes

 The IRS Tax Code Section 170 (h) has established specific “Conservation Purposes” that,
 if perpetually protected through the donation conservation easement, could render the
 donor eligible for tax relief. In particular, this easement addresses two conservation
 purposes:


 1.)    The protection of a relatively natural habitat of fish, wildlife, or plants or
        similar ecosystem;

          •       The conservation easement precludes the development of open space and
                  ecologically significant land which could have otherwise been
                  accomplished.

          •       The property is located on the banks of the Black River and Pee Dee River.
                  The easement will further benefit and enhance this watershed by protecting
                  riparian and forested/vegetated areas from disturbance, providing vital
                  protection of stream ecosystems from non-point source pollution,
                  sedimentation, stream bank erosion, and excessive temperatures. Vegetated
                  and undisturbed stream corridors provide vital food and habitat sources for
                  aquatic organisms and insects, which form the basis of a healthy stream
                  ecosystem supporting numerous species of fish, reptiles, amphibians, birds,
                  and mammals.


 2.)    The preservation of open space (including farmland and forest land) where
        such preservation is-

        (a)       For scenic enjoyment of the general public, or

              •   A significant portion of the conservation area is visible to the general
                  public who can enjoy the rich scenic character of its natural resources
                  from the Black River, Pee Dee River, Highway 701 and Wedgefield Road.


        (b)       Pursuant to clearly delineated Federal, State, or local governmental
                  conservation policy, and will yield significant public benefit;

              •   South Carolina Scenic Rivers Act
                  On Tuesday, June 5, 2001, a 75-mile segment of the Black River was
                  designated as a State Scenic River. The Black River is the seventh and the
                  longest river to receive this designation in South Carolina.




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          •   Nationwide Rivers Inventory
              In order to be listed on the NRI, a river must be free flowing and possess
              one or more Outstandingly Remarkable Values (ORVs). The Black River
              possesses 6 ORVs:
                  1. Scenic
                  2. Recreation
                  3. Geology
                  4. Fish
                  5. Wildlife
                  6. History

          •   South Carolina Conservation Bank Bill: S-297; H-3462
              “This bill establishes a statewide program to preserve natural areas and
              historic sites. A public-private partnership is created to purchase land and
              conservation easements from willing sellers. Funding for competitive
              grants would come from $.25 of the deed recording fee that would be
              redirected from the General Fund to the Conservation Bank.”

          •   South Carolina Farm and Forests Protection Act; Agriculture,
              Forestry, Natural Resources: S-156; H-3111
              “Whereas, it is the policy of the State that agricultural and forest lands are
              valued natural and ecological resources which provide needed open space
              for wildlife habitat, clean air, clean water, groundwater recharge, and
              protection of cultural resources…”

          •   South Carolina Code, Title 27, Chapter 8: Conservation Easement
              Act
              “A recent South Carolina law, the Conservation Easement Act of 1991,
              provides a sound legal basis for the donation of conservation easements to
              preserve the natural, historic, architectural, or archaeological aspects of
              properties. The law also makes the donation of easements more attractive
              by requiring the local tax assessor to consider the easement when
              assessing the value of the property.”




          •   South Carolina Riparian Buffer Zone Management Act of 2001:
              S-0417
              “that riparian buffers adjacent to stream systems and coastal areas provide
              numerous environmental protection and resource management benefits
              that, depending on location and existing conditions, may include the
              following:



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                     (a) restoring and maintaining the chemical, physical, and biological
                     integrity of the State's water resources;
                     (b) removing pollutants delivered from urban stormwater;
                     (c) reducing erosion and sediment entering waters;
                     (d) stabilizing stream banks;
                     (e) providing infiltration of stormwater runoff;
                     (f) maintaining base flow of streams;
                     (g) contributing the organic matter that is a source of food and
                     energy for the aquatic ecosystem;
                     (h) providing tree canopy to shade streams and protect aquatic
                     organisms;
                     (i) providing riparian wildlife habitat; and
                     (k) furnishing scenic value and recreational opportunity.”

          •   USDA Farm Service Agency: Conservation Reserve Program (CRP)
              “The Conservation Reserve Program (CRP), administered by the USDA-
              Farm Service agency, is the Federal Governments single largest
              environmental improvement program on privately owned farms. Most of
              the acreage is devoted to trees. Although CRP originally was designed to
              prevent soil erosion, it has been expanded throughout the years to address
              water quality and wildlife concerns. South Carolina is the top state in the
              Southeast for installing riparian buffers adjacent to waterbodies through
              CRP for water quality protection.”

          •   Natural Resource Conservation Service (NRCS): South Carolina
              Wetlands Reserve Program
              “South Carolina's WRP focuses on restoring wetlands back to their
              original condition in addition to improving waterfowl and wildlife habitat
              over and above existing natural conditions.”

          •   United States Department of Agriculture Natural Resources
              Conservation Service: 2000 Forestry Incentives Program
              “Outlook: As South Carolina’s population and industry continue to grow,
              so will the demand for timber. As forests are harvested, it is critical that
              the supply be replenished, not only to meet timber demands, but also for
              continued wildlife habitat. This, combined with other conservation
              methods, will ensure a healthy environment in South Carolina for years to
              come.”

          •   South Carolina Department of Natural Resources: Heritage Trust
              Program: SC Code Ann., § 51-17
              “The goal of the Heritage Trust Program is to protect endangered species
              and prevent habitat loss, mainly through land acquisition and the
              establishment of heritage preserves.”

          •   South Carolina Conservation Incentives Act: SC Code § 12-6- 3515


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                “The Act offers tax incentives to taxpayers for the donation of land or
                conservation easements to conservation organizations.”




  IV.    Conservation Management

  Forest Management

  Cutting of live trees within the Conservation Area (CA) is prohibited. However, some
  types of forest management activities are permitted and may be deemed necessary on a
  periodic basis. Permitted activities may include the removal of dead or damaged trees,
  harvesting personal firewood, and removing exotic (non-native) species, so long as
  easement restrictions are not violated. For instance, altering topography while
  constructing new roads to access a stand of damaged trees is not permitted.

  NALT’s desired outcome of protecting forests within the CA is to provide habitat for
  species of viability concern and natural forest conditions that are not otherwise well
  represented across the landscape. Although such conditions can vary across the
  landscape, in most cases the desired condition is best described as “old-growth”. Such
  naturally maturing forests are characterized as containing well developed soils and an
  abundance of woody debris, both standing and fallen, in a variety of types, sizes, and
  decay classes. Although the removal of dead or damaged trees is permitted, we
  encourage landowners and forest managers to recognize the extreme ecological
  importance of woody debris and undisturbed soils.

  NALT recognizes the ecological importance of active forest management activities, such
  as prescribed burns in appropriate forest types, and encourages such activities when, and
  where, appropriate by certified individuals. All permitted “stand” level forest
  management or restoration activities must be pre-approved by NALT and usually require
  a management plan written by a qualified forester. When forest management is necessary,
  efforts must be made to avoid damage to soils and aquatic features by heavy machinery
  and erosion.

  Forest conditions will be assessed on each annual monitoring visit by a NALT staff
  person or representative. If necessary, management suggestions will be outlined in the
  monitoring report.

  Aquatic Features Management

  NALT’s desired outcome of protecting aquatic features within the CA is to maintain or
  enhance water quality, natural hydrology, and aquatic habitats for species of viability
  concern.




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  Alteration of natural hydrology, stream channels, wetlands, or other watercourses is
  prohibited in the Conservation Area. Introduction of non-native plant or animal species
  to natural aquatic features is also prohibited. The introduction of fish, particularly
  predatory fish (such as bass, sunfish, and trout) to otherwise free-free ponds, is
  discouraged.

  Landowners should recognize that streams benefit from forest cover and shading, and
  that woody debris in streams and wetlands is an important ecological component.
  Removal of woody debris from aquatic features should be avoided

  Some aquatic features, such as bogs, may require active management, such as shrub
  removal, to maintain habitats for rare species.

  All efforts to control stream bank erosion, or any other manipulation of aquatic features
  requires consultation with, and pre-approval from, NALT and may also require
  government permits.

  Aquatic feature conditions will be assessed on each annual monitoring visit by a NALT
  staff person or representative. If necessary, management suggestions will be outlined in
  the monitoring report.




  V.      Monitoring Policy

  Part of the responsibility NALT assumes when it accepts the donation of a conservation
  easement is the perpetual monitoring of the subject property to ensure that the integrity of
  the conservation purposes remain intact. This baseline document will provide the basis
  for the monitoring program. By chronicling the property through photographs,
  professional reports and maps, an accurate depiction of the property is presented at the
  time of the donation. This will prove essential to a future NALT representative who can
  quickly compare data and photographs to determine how the property has changed.
  Regularly scheduled monitoring visits will also help establish a sound relationship
  between the landowner and land trust. This is an important ingredient for effective
  stewardship.




  The Monitoring Process:

       1. Notify the landowner prior to the monitoring visit and provide them, or their
          representative, an opportunity to meet and/or accompany you.



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        2. Review the baseline documentation for the property and become familiar with the
           restrictions and reserved rights clauses in the conservation easement.
        3. Survey the property and record any apparent changes since the previous
           monitoring visit, or discrepancies from the baseline documentation. Attempt to
           take photographs in the same position and location as previous photographs.
        4. Communicate with the landowner about the visit and ask if they have questions.
           Find out if they intend to initiate any Reserved Rights in the immediate future.
        5. Draft a report describing the visit and provide to landowner for review. If the
           landowner agrees the report is accurate, they will then forward a signed copy for
           NALT’s files.
        6. This process will be repeated annually and perpetually.

  It is crucial that the landowner communicate with NALT about any future activities
  within the conservation easement area. This includes exercising any of the Reserved
  Rights in Article 3. This will ensure NALT’s files remain updated and will avoid any
  potential misunderstandings during regularly scheduled monitoring visits.

  NALT is confident these steps will result in a harmonious relationship between
  landowner and land trust while protecting the conservation areas. Thank you for your
  cooperation.




  VI.      Mission Statement

  The North American Land Trust is committed to the preservation of natural ecosystems
  and the conservation of agriculturally productive lands. NALT believes that preservation
  and conservation efforts often require different techniques and management strategies.
  Our goal is to be a professional organization committed to one single, but extremely
  important, purpose: long term stewardship of our natural heritage.




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                                              DhLLAKATION OF RESTRICTIVE COVENANTS                          \ ~         -,)               __. ..
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                              THIS CONSERVATION EASEMENT AND DECLARATION OF RESTRTCfiVE
                       COVENANTS (hereinafter called the "Declaration") made December 29         , 1935 ,
                       BETWEEN LARRY YOUNG and JUDY YOUNG, husband and wife ("Grantor"):Whose
                       address is 8~~~§~t5t-Jn9o~en¥9440              , and NORTH AMERICAN LAND
                       TRUST, a Pennsylvania non-profit corporation having an address of P.O. Box 134, Chadds
                       Ford, PA 19317 ("Grantee"),

                                                            WITNESSETH THAT:

                                WHEREAS, the Grantor is the owner in fee simple of certain real property
                        (hereinafter referred to as the "Property") locally known as "Weehaw Plantation" and more
                        particularly described by metes and bounds in Exhibit A attached hereto and depicted on the
                        plan attached hereto as Exhibit B; and

                               VVHEREAS, Grantee is a non-profit corporation having tax-exempt status under
                        Section 501(c)(3) of the Internal Revenue Code of 1986, as amended (hereinafter called the
                        "Code"), has been established as a public charity for the purpose of preserving and
                        conserving natmal habitats, environmentally sensitive areas and open space and for other
                        charitable, scientific and educational purposes, and meets the requirements of a "qualified
                        organization'' under Section 170(h)(3) of the Code; and

                                 ·wHEREAS, the ecological significance of the Property bas been established in the
                        reports. pians, accompanying photographs, documentation and exhibits, including the plans
                        prepared by Design \Yorks dated   December 27        , 19 95_ (collectively called the
                        "Baseline Documentation") which concludes [hat, among other things:

                                        (a)    The Property has been recognized as containing important rice fields:
                        and

                                       (b)     The Property provides an important, ecologically stable habitat for
                         flora and fauna, including particularly waterfowl, that are native to the "lowcountry" of South
                         Carolina: and

                                       (c)    The Property also contains the remnants of an 18th century formal
                         garden including ancient camellias and specimen live oak trees; and

                                        (d)     The Property consists of a unique, environmentally sensitive land area
                         because it is a portion of the estuaries of the Black River and Pee Dee River; and

                                        (e)     The Property consists of valuable scenic vistas that can be seen from


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                the Intra Coastal Waterway, the Black River and the Pee Dee River and Highways 701 and
                S-22-325; and

                        WHEREAS, the Baseline Documentation establishes the Property to be a relatively
                natural habitat of fish, wildlife, plants, and similar ecosystems; and

                       WHEREAS, the Baseline Documentation further establishes that the Property is open
               space which, pursuant to clearly delineated Federal and state, governmental conservation
               policies, merits conservation in the manner intended by Grantor and Grantee and expressed in
               this document and such conservation and will yield a significant public benefit; and

                      WHEREAS, the Baseline Documentation also establishes that conservation of the
               Property in the manner intended Grantor and Grantee and expressed in this document will
               provide scenic enjoyment for the general public and such conservation will yield a significant
               public benefit; and

                        WHEREAS, Grantor and Grantee desire to perpetually conserve the natural,
                scientific, educational, open space, and scenic resources of the Property; and

                       WHEREAS, Grantor and Grantee intend to create with this document a "conservation
                easement" as defined in the Conservation Easement Act of 1991, as amended through the
                date hereof (the "Act"), Sections 27-8-10 et seq. of the South Carolina Code of Laws.

                        NOW, THEREFORE, in consideration of the mutual covenants contained herein and
                with the intention of making an absolute and unconditional gift, by these presents Grantor
                freely grants and conveys unto the Grantee, its successors and assigns forever, a perpetual
                easement in gross over the Property according to the terms set forth in this Declaration, and
                agrees to subject the Property perpetually to covenants and restrictions as herein set forth.

                ARTICLE A.            GRANT OF ACCESS EASEMENT

                       Grantor hereby grants and conveys unto Grantee, it successors and assigns, the
                easement and right of Grantee to enter upon and inspect the Property at any time and from
                time to time, provided that Grantor is first given notice of any such visit at least seven (7)
                days in advance.

                ARTICLE B.            GRANTOR'S DECLARATION OF COVENANTS AND
                                      RESTRICTIONS

                         The Grantor, for itself, its successors and assigns, covenants and declares that the
                Property shall be, and hereby is, bound by and made subject to the following covenants and
                restrictions in perpetuity, subject to the Reserved Rights (hereinafter defined).

                               1.     The Property shall not be used for any industrial or commercial purpose

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              or purposes, including but not limited to: (1) manufacture or assembly of any products,
              goods, equipment, chemicals, materials or substances of any kind or nature whatsoever; (2)
              sale of any products, goods or services of any kind or nature whatsoever, except for the sale
              of agricultural products (including animals and animal products) grown or raised on the
              Property; (3) storage of any products or goods of any kind or nature, except for the storage
              of agricultural products (including animals and animal products) grown or raised on the
              Property; and (4) offices for persons involved in the sale, manufacture or assembly of goods
              or services or for the performance of services, other than for the sale of agricultural products
              (including animals and animal products) grown on the Property. There shall not be
              constructed, cut, created or placed on the Property any road, driveway, cartway, path or
              other means or right of passage across or upon the Property if the same is to be used, nor
              may any road, driveway, cartway, path or other means or right of passage located on the
              Property be used, in conjunction with any uses which are prohibited by the terms of this
              Declaration. Nothing herein is intended, nor shall be construed, to prohibit the cultivation,
              breeding or raising of agricultural products or livestock or standard equestrian uses.

                              2.    No structures of any kind shall be built, erected, installed, placed,
               affixed or assembled within or upon the Property or upon any trees or other natural features
               upon the Property, except to the extent necessary for:

                             (a)     Drainage and erosion control measures.

                              (b)    Conservation, nature education or security measures.

               "Structure" shall mean any assembly of material forming a construction for occupancy or use
               for any purpose and erected upon or attached to the ground including, for example but not
               for limitation of the foregoing definition, the following: buildings, fences, platforms, sheds,
               bins, shelters, ponds, dikes, dams, groins, docks, bridges, piers, towers, antennae, tanks, and
               bulkheads.

                             3.      No cutting of timber or removal or destruction of trees shall he
               permitted within the Property except when conducted for the following purposes:

                              (a)    To clear and restore vegetative cover that has been damaged or
                                     disturbed by forces of nature or otherwise; and

                              (b)    To prune and selectively thin trees, but only if done in accordance with
                                     good forest management practices according to a plan approved by
                                     Grantee in advance.

                              (c)    To plant and harvest perennial grasses and plantation pine (if done in
                                     accordance with good forest management practices according to a plan
                                     approved by Grantee in advance).



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                              4.     Without limitation of any other restrictions or covenants herein, no
               signs, billboards or outdoor advertising structures shall be placed, erected or maintained
               within the Property except a reasonable number of regulatory or directional signs including,
               for example but not for limitation of the foregoing definition, "no trespassing" signs, "no
               gunning" signs and "no hunting" signs, and one sign not exceeding four (4) square feet in
               area on each if two sides for any of the following purposes:

                              (a)    To state the name of the Property and/or the names and addresses of
                                     the occupants;

                              (b)    To advertise an activity permitted under the provisions of this
                                     Declaration;

                              (c)    To educate the public as to the ecology of the area; and

                              (d)    To identify the interest of Grantee in the Conservation Easement Area.

                               5.    There .shall be no filling, excavating, dredging, surface mining, or
               drilling, nor removal of topsoil, sand. gravel, rock, peat, minerals, or other materials, nor
               any dumping of ashes, trash, garbage, or any other unsightly or offensive materials. There
               shall be no material change in the topography of the land in any manner. The foregoing shall
               not be construed to prohibit plowing or tilling of soil or agricultural Structures (to the extent
               included in the Reserved Rights) on the Property for agricultural purposes, so long as the
               requirements for such agricultural practices set forth in this Declaration are followed.

                              6.      There shall be no introduction of exotic plant or animal species except
               those traditionally and prevalently used as of, or prior to, the date hereof for wildlife food
               planting or for agricultural planting traditional to the area.

                              7.     There shall be no dredging, construction of ponds, groins, or dikes, nor
               any manipulation of natural water courses within any salt or brackish marsh. The foregoing
               shall not be construed to prohibit ponds as agricultural Structures on the Property provided
               that Grantor complies with the provisions pertaining to agricultural Structures in the Reserved
               Rights.

                             8.      All agricultural activity on the Property shall be conducted in
                accordance with the following requirements:

                                      (a)    Good conservation practices shall be followed, in compliance
                with the then prevailing practices established by the United States Department of Agriculture
                Soil Conservation Service (the "Recommended Agricultural Practices").

                                      (b)    Grantor shall not apply chemicals, insecticides or biocides and
                shall situate no manure or compost piles within 100 feet of any streams, creeks, rivers, ponds

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               or other bodies of water.

                                      (c)    Livestock and agricultural activities shall be confined to fields
               and pastures maintained for such purposes under Recommended Agricultural Practices and,
               without limitation of the foregoing requirement, livestock shall not be permitted to roam
               freely in woodlands, ponds, other water impoundments or wetlands.

                                   (d)     Contour farming shall be practiced on all areas of the Property
               which are plowed or tilled. Plowing and tillage shall not be conducted on slopes exceeding
               15% in grade or within 100 feet of streams or wetlands.

                              9.     The parties recognize that this Declaration cannot address every
               circumstance that may arise in the future, and the parties agree that the purpose of this
               Declaration is to preserve the Property predominantly in its present condition, and to protect
               or enhance the Property's environmental systems. Any use or activity not reserved in Article
               C, below, which is inconsistent with the purpose to this Declaration or which materially
               threatens the purpose of this Declaration is prohibited.

               ARTICLE C.             RESERVED RIGHTS

                      Notwithstanding any provision to the contrary contained in this Declaration, the
               Grantor reserves for itself, its successors and assigns, the rights set forth in this Article (the
               "Reserved Rights"):

                               1.     The right to erect, maintain, repair, and replace six single family
               dwellings (individually a "Dwelling" and collectively the "Dwellings"), along with private
               driveways serving the Dwellings. The Dwellings may each be used solely as a single family
               dwelling. Grantee shall also have the right to erect, maintain, repair, and replace structures
               accessory to and smaller than the Dwellings and that are typically considered accessory to a
               principal single family dwelling; provided that only one accessory structure for each of the
               Dwellings shall be constructed or used for human habitation (in addition to the Dwelling) and
               such accessory structure shall not exceed 50% of the square footage of the Dwelling to which
               it is associated. Such accessory structures may include, for example and not for limitation of
               the definition, a boat house, gazebo, or garage. The Grantee may also keep, maintain,
               repair, and replace the "Lodge" (as depicted in Exhibit B) as a building for occupancy and
               use as a single family dwelling (with all the attendant rights of a Dwelling hereunder) or as a
               common building for guest residence or community gatherings by the owners of the
               Dwellings and their guests. The Dwellings and all structures accessory to the Dwellings must
               each be located within one of the areas depicted as a "Restricted Building Envelope" on
               Exhibit B to this Declaration and the Lodge must be located within the Lodge Site as depicted
               on Exhibit B to this Declaration.

                              2.     The right to erect, maintain, repair and replace a common recreational
                area not exceeding three acres in area (the "Recreation Area") within the Restricted Building

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               Envelope.

                             3.     The right to erect, maintain, repair, and replace buildings necessary to
               the performance of the agricultural and livestock uses allowed on the Property up to an
               aggregate of 5,000 square feet of floor area for all agricultural buildings on the entire
               Property.

                             4.     The right to erect, maintain, repair, and replace Structures (as defined
               above), other than buildings, necessary for the performance of the agricultural and livestock
               uses allowed on the Property, including but not limited to irrigation and structures necessary
               for the maintenance of the controlled and uncontrolled rice fields on the Property.

                                5.    The right to provide, to the extent typical of a country property, (1)
               utilities to the Dwellings, Recreation Area, Lodge, and other allowed Structures, and (2)
               roads and paths for ingress and egress to the Dwellings, the Lodge, the Recreation Area and
               other Structures and uses not prohibited hereunder. The right to provide normal, sanitary
               sewer and/or septic tank facilities, water or wells serving the Dwellings and the Lodge as
               would be typical of a country property. The right to provide, in any lawful manner and
               subject to all governmental regulations, any erosion control devices so as to protect the
               Property and its perimeters.

                            6.      Grantor may thin and remove invasive plants not native to the Property
               using good vegetation management practices in accordance with a plan approved in advance
               by Grantee.

                               7.     Without limiting the restrictions and covenants set forth above, Grantee
               agrees that the exercise of all Reserved Rights shall be in full accordance with all applicable
               local, state, and federal laws and regulations and the conservation purposes of this
               Declaration.

                              8.     Grantor shall notify Grantee in writing before exercising any Reserved
               Rights or taking any action which may affect any of the conservation purposes of this
               Declaration and shall, upon request of Grantee, provide Grantee with plans depicting in such
               detail as Grantee reasonably requests the construction or other activity, and location thereof,
               which Grantor intends to undertake.

               ARTICLE D.             GRANTEE'S COVENANTS

                                1.     Grantee shall use its best efforts to enforce both the rights granted to it
                and the restrictions imposed upon the Property under this Declaration.

                               2.      If at any time Grantee or any successor or assignee is unable to enforce
                this Declaration in full or fails to do so, or if Grantee or any successor or assignee ceases to
                exist or ceases to be a "qualified organization" (as defined in the Code) or a "holder" (as

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               defined in the Act) and if, within a reasonable period of time after the occurrence of any of
               these events, Grantee or any successor or assignee fails to assign all of its rights and
               responsibilities under this Declaration to a "qualified organization" and "holder", then the
               rights and responsibilities under this Declaration shall become vested in and fall upon another
               qualified organization in accordance with a cy. ~ proceeding in any court of competent
               jurisdiction.

                                3.       Notwithstanding the foregoing or anything else in this Declaration to the
               contrary, Grantee, its successors and assigns shall have the right to assign, either wholly or
               partially, its right, title and interest hereunder provided that the assignee is a "qualified
               organization" under the Code and a "Holder" under the Act and provided that the assignee
               shall hold the Conservation Easement exclusively for purposes herein set forth. The term
               "Grantee" as used in this Declaration shall mean the above-named Grantee and any of its
               successors and assigns.

               ARTICLE        E.      REMEDIES AND ENFORCEMENT

                              1.     Grantee shall have the right to enforce by proceedings at law or in
               equity each and every one of the covenants and restrictions set forth in this Declaration. The
               foregoing shall not limit any of the rights or remedies available to the Grantee at law or in
               equity.

                              2.     Without limitation of any other rights of the Grantee herein, Grantee's
               right of enforcement of this Declaration shall include the right to seek specific performance
               by Grantor of the restoration of the Property to its original condition as established in the
               Baseline Documentation and as otherwise may be required in this Agreement.

                              3.     If Grantor fails to pay taxes or other governmental assessments which
               may become a lien upon the Property Grantee may, but shall have no obligation to, pay such
               taxes or assessments or any part thereof upon ten (1 0) days prior written notice to Grantor,
               according to any bill, statement or estimate procured from the appropriate public office.
               Payment made by Grantee shall become a lien on the Property in favor of Grantee after thirty
               (30) days' notice and demand for payment sent by Grantee to Grantor and shall bear interest
               until paid by Grantor at the rate of eighteen percent (18%) per annum.

                                4.     This Declaration may only be enforced by the parties hereto, and their
                respective successors and assigns, and no third party beneficiary rights, including but not
                limited to third party rights of enforcement, are created hereby.

                               5.      In the event that Grantee acts, after 30 days' notice to the Grantor, to
                enforce this Declaration or any obligation hereunder, all reasonable expenses incurred by
                Grantee shall be charged to and paid by the Grantor, including reasonable attorney's fees
                regardless of whether an action or proceeding is commenced. All such expenses, together
                with costs of collection (including reasonable attorneys fees) if the Grantor is determined by a

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               court to have violated this Declaration), shall be recoverable by the Grantee and be liens
               upon the Property, and collection thereof may be enforced by foreclosure and sale of the
               Property, notwithstanding anything to the contrary, this Declaration shall not merge with any
               interest in the Property upon such sale and title shall be transferred subject hereto in
               accordance with the laws of the state in which the Property is located.

               ARTICLE        F.      GENERAL PROVISIONS

                              1.      This Declaration gives rise to a property right and interest immediately
               vested in the Grantee. For purposes of this Declaration, the fair market value of Grantee's
               right and interest shall be equal to the difference., as of the date hereof, between the fair
               market value of the Property when subject to this Declaration and the fair market value of the
               Property if unencumbered by this Declaration.

                              2.      The parties recognize the environmental, scenic and natural values of
               the Property and have the common pmpose of preserving these values. Any general rule of
               construction to the contrary notwithstanding, this Declaration shall be liberally construed in
               favor of the grant to effect the purpose of this Declaration and the policy and purposes of the
               Grantee. If any provision in this instrument is found to be ambiguous, an interpretation
               consistent with the purpose of this Declaration that would render the provision valid should
               be favored over any interpretation that would render it invalid. The parties intend that this
               Declaration, which is by nature and character primarily prohibitive ( in that the Grantor has
               restricted and limited the rights inherent in ownership of the Property, shall be construed at
               all times and by all parties to effectuate its purposes.

                              3.       Grantor covenants and agrees to indemnify, defend and hold harmless
               the Grantee from and against any loss, cost (including reasonable attorneys fees), liability,
               claim, penalty, fine, and damage, of any kind or nature whatsoever, which Grantee may
               suffer or incur or which is commenced or threatened against Grantee or any of its directors,
               officers or employees arising from violation of any law involving the Property, any breach of
               the covenants and restrictions herein by Grantor, taxes and assessments upon the Property,
               any death or injury to any person occurring on or about the Property or any loss or damage
               to any property occurring on or about the Property; provided, however, that Grantor shall
               have no obligation to indemnify Grantee against loss, cost, liability, claim, penalty, fine or
               damage which results from Grantee's own negligent acts. Without limitation of the
               foregoing, Grantor shall retain all responsibilities and shall bear all costs and liabilities of any
               kind related to the ownership, operations, upkeep, and maintenance of the Property, including
               the general liability insurance coverage.

                                 4.       Grantor shall defend, indemnify and hold harmless Grantee, its
                successors, assigns, employees, and agents from and against any claims, demands, penalties,
                fines, liabilities, settlements, damages, costs or expenses of whatever kind or nature known
                or unknown, contingent or otherwise because of non-compliance with this Declaration or any
                law, regulation, ordinance or court order.

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                              5.     Grantor shall continue to pay all taxes, levies and assessments and other
               governmental or municipal charges which may become a lien on the Property, including any
               taxes or levies imposed to make those payments.

                              6.      When a change in conditions gives rise to the extinguishment of this
               Declaration or a material term or provision hereof by judicial proceeding, the Grantee, on
               any subsequent sale, exchange or involuntary conversion of the Property, shall be entitled to
               a portion of the proceeds of sale equal to the greater of: (a) the fair market value of the
               Easement or about the date of this Declaration; (b) Grantor's Proportionate Share of the
               proceeds of such sale, exchange or involuntary conversion, (c) the full proceeds from the
               sale, exchange or involuntary conversion, without regard to contrary terms of this
               Declaration, if state law provides that the donor is entitled to the full proceeds. "Fair
               market value of the Easement" shall mean the difference between the fair market value of the
               Property unencumbered by this Declaration and the fair market value of the Conservation
               Easement encumbered by this Declaration. "Grantor's Proportionate Share" shall mean the
               fraction derived from the fair market value of the Easement on or about the date hereof
               divided by the fair market value of the Property, if unencumbered by this Declaration, on or
               about the date hereof. "Proceeds of sale" shall mean the cash value of all money and
               property paid, transferred or contributed in consideration for, or as otherwise required as a
               condition, to the sale, exchange or involuntary conversion of the Property, minus the actual
               bona fide expenses of such transaction and an amount attributable to the residential
               improvements constructed upon the Property pursuant to the Reserved Rights hereunder, if
               any. All such proceeds received by Grantee shall be used in a manner consistent with the
               conservation purposes of this grant.

                              7.     Whenever all or part of the Property is taken by exercise of eminent
               domain by public, corporate or other authority so as to abrogate the restrictions imposed by
               this Declaration, the Grantor and Grantee shall join in appropriate actions at the time of such
               taking to recover the full value of the taking and all incidental or direct damages resulting
               from the taking. All expenses incurred by the Grantor and the Grantee, including reasonable
               attorney's fees, in any such action shall be paid out of the recovered proceeds. Grantee shall
               be entitled to Grantors Proportionate Share of the recovered proceeds and shall use such
               proceeds in a manner consistent with the conservation purposes of this grant. The respective
               rights of the Grantor and Grantee set forth in paragraph 8, above, and this paragraph 9 shall
               be in addition to and not in limitation of, any rights they may have in common law with
               respect to a modification or termination of this Declaration by reason of changed conditions
               or the exercise of powers of eminent domain as aforesaid.

                               8.      The failure of Grantee to exercise any of its rights under this
                Declaration on any occasion shall not be deemed a waiver of said rights and Grantee retains
                the right in perpetuity to require full compliance by Grantor of the covenants and restrictions
                in this Declaration.

                               9.     Grantor and Grantee recognize that circumstances could arise which


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               this end, Grantee and Grantor shall mutually have the right, in their sole discretion, to agree
               to amendments to this Declaration which are not inconsistent with the basic purpose of the
               Declaration as stated in this document, provided, however, that Grantee shall have no right
               or power to agree to any amendments hereto that would result in this Declaration and
               Declaration failing to qualify as a valid conservation easement under the Act, as the same
               may be hereafter amended, or Section 170(h) of the Code as hereafter amended.

                               10.    This Declaration and all of the covenants, easements and restrictions
               herein set forth shall run with the land and be binding upon, and inure to the benefit of, the
               parties hereto and their respective heirs, successors and assigns. The term "Grantor" used
               herein shall mean and include the above-named Grantor and any of its successors or assigns
               that are the legal owners of the Property or any part thereof. The term "Grantee" used
               herein shall mean and include the above-named Grantor and any of its successors or assigns,
               it being understood and agreed that any assignee of the rights of Grantee hereunder must be a
               "qualified organization" as defined in Section 170(h) of the Code, as amended, and shall
               carry out the obligations of the Grantee and the intent of this Declaration.

                             11.     Grantor shall be and remain liable for any breach or violation of this
               Declaration only if such breach or violation occurs during such time as Grantor is the legal
               owner of the Property or part thereof.

                              12.     Grantor agrees that all mortgages upon any or all of the Property
               entered into after the date of this Declaration will be subject to and subordinate to this
               Declaration.
                              13.     Grantor shall notify Grantee in writing of any sale, transfer, lease or
               other disposition of the Property or any part thereof, whether by operation of law or
               otherwise, at least 30 days after such disposition, such notice shall include a copy of the
               deed, lease, or other Declaration of transfer, the date of transfer, and the name or names and
               addresses for norices of the transferee.

                               14.    All notices required of Grantor under the terms of this Declaration, and
               all requests for the consent or approval of Grantee, shall be in writing and served personally
               or sent by certified mail, return receipt requested, addressed to Grantee at the address set




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               forth below or such other address provided by Grantee for the purpose.

               GRANTEE:                                  GRANTOR:

               North American Land Trust                Lafayette Drive
               P.O. Box 134                             DeBordieu Colony
               Chadds Ford, PA 19317                    Georgetown, SC 29440

               With Copy To:                             With Copy To:

               George Asimos, Jr.                        W. Bradley Blair, II
               Saul, Ewing, Remick & Saul                Legends Group
               1055 Westlakes Drive, Suite 150           P.O. Box 2038
               Berwyn, PA 19312                          Myrtle Beach, SC 29578

                              15.   By signing this Declaration, Grantor certifies that:

                              (a)   Grantor has received and fully reviewed the Baseline
                                    Documentation in its entirety.

                              (b)   The Baseline Documentation includes, among other things:

                                    i)     The appropriate survey maps from the United States Geological
                                           Survey, showing the property line and other contiguous or
                                           nearby protected areas.

                                    ii)    A map of the area drawn to scale showing all existing man-made
                                           improvements or incursions (such as roads, buildings, fences, or
                                           gravel pits), vegetation and identification of flora and fauna
                                           (including, for example, rare species locations, animal breeding
                                           and roosting areas, and migration routes), land use history
                                           (including present uses and recent past disturbances), and
                                           distinct natural features (such as large trees and aquatic areas).

                                    iii)   An aerial photograph of the property at an appropriate scale
                                           taken as close as possible to the date the donation is made.

                                    iv)    On-site photographs taken at appropriate locations on the
                                           property. The condition of particular natural resources to be
                                           protected by this Declaration at or near the time of the gift is
                                           established therein.

                              (c)   The Baseline Documentation, being an inventory of the resources of the
                                    Property, including the maps and photographs therein, is an accurate

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                                       representation of condition of the Conservation at the date hereof.

                                (d)    Grantor has been represented by counsel of Grantor's selection, and
                                       fully understands that Grantor is permanently relinquishing property
                                       rights which would otherwise permit the Grantor to have the full use
                                       and enjoyment of the Property.

                                (e)    Grantor hereby certifies that the Property is not encumbered by any
                                       mortgage, lien or other encumbrance, or that all such mortgages, liens
                                       or encumbrances, if any, have been subordinated to this Declaration by
                                       a duly executed instrument recorded in the Office of the County Clerk
                                       in which the Property is located.

                                (f)    That the undersigned individual signing on behalf of the Grantor have
                                       all legal authority to enter into this Declaration and perform all of the
                                       obligations of the Grantor hereunder, as the binding act of the Grantor.

                              16.    Grantor hereby warrants and represents that the Grantor is seized of the
               Property in fee simple, and has good right to grant and convey this Declaration, that the
               Property if free and clear of any and all encumbrances, except matters of record, and that the
               Grantee and its successors and assigns shall have the use of and enjoy all of the benefits
               derived from and arising out of this Declaration, and that any mortgage rights are subordinate
               hereto.

                             17.    TO HAVE AND TO HOLD the easements and rights set forth in this
               Declaration unto Grantee, its successors and assigns, for its own use and benefit forever.

                      IN \VITNESS WHEREOF, and intending to be legally bound hereby, Grantor and
               Grantee have executed this Declaration as of the day and year first above written.

                                                             GRANTOR:




                Witness Tft tL ~fL.},g <   !/. V. rf'- ~lro[SEAL]
                    {1YJ !)L~!Ec. !Y)CXL"J;,_ Q__L<_         JU Y YOUlVG




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                                                            GRANTEE:

                                                            NORTH AMERICAN LAND TRUST


                                                            By:      ~ .,, \.1. {1......_ (       [SEAL]
                                                            Name(Ohn v .H. Halsey
                                                            Title: President



               STATE OF NEW YORK

               COUNTY OF         Svt=FO'-~


                      On this, the 2.1       day of_ J)eces-ME:>~ R. , 19 'lb, before me, the
               undersigned officer, personally appeared JOHN VAN HEUSEN HALSEY who
               acknowledged himself to be the PRESIDENT of NORTH AMERICAN LAND TRUST, a
               corporation, and that he as such PRESIDENT , being authorized to do so, executed the
               foregoing instrument for the purposes therein contained by signing the name of the
               corporation by himself as PRESIDENT.

                        In witness whereof, I hereunto set my hand and official seal.




                                                              Title ef Office!

                                                                             MELANIE A. TESBENS
                                                                         Notary Public, Stat~ of New Vorl&
                                                                        No. 01TE5035908. Suffolk County
                                                                     Commission Expires November 14. 199~




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                                                                       Exhibit 2
STATE OF SOUTH CAROLINA
                                                  PROBATE
COUNTY OF    J~ ~
     PERSONALLY A£PEARED before me the undersigned witness who,
after being duly sworn, deposes and says that (s)he saw the within-
named Larry Young and Judy Young, sign, seal and as their act and
deed, deliver the within-written instrument and that {s)he with the
other witness above witnessed the execution thereof.




SWORN to before me this

                     1995.




Hy Commission Expires:   //---? ·~~ ~
                             ~    .........




                                                       36558 .1-Ft~ (SSJ)   900000-486




                                              ______ _____________________ _
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STATE OF      tJe IN Yo~ t!-           )
                                       )                       PROBATE
COUNTY OF Su~~ot-K                     )



        PERSONALLY APPEARED before me the undersigned witness who, after being duly
sworn, deposes and says that~e saw the within-named North American Land Trust, a
Pennsylvania corporation, by John v.H. Halsey, its President, sign, seal, and, as the act and deed
of the corporation, deliver the within-written instrument and tiJ.at .-be with the other witness above
witnessed the execution thereof.




Sworn to before me this
__bl_ day of December, 1995




.N6fary Public fer _ _ _ _ _ _ __

M¥ Commi ssim~-E~xppiriree~~·-=========--
           MELANIE A. TEBBENS
      Notary Public, State of New Yort
     No. 01 TE5035908, Suffolk County
  Commission Expires November 14. 199b..
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                                                                                      "Bank" "NationsB:mk"   Exhibit      2 of
                                                                                                               "Natinr1s8::~nk
                                                                                       North Caro!inz.. N./t" "Natons(~:;3n!{ of
                                                                                    South Carolina, NA" or "Nail0n8Bank, N.A.
                                 JOINDER AND CONSENT OF MORTGAGEE                    (Carolin~fll" 50011 rrwan NationsBank N.A.


                                  NATIONSBANK, N.A.             ("Mortgagee"), the holder of the mortgage
               encumbering the Property in the amount of $19,4oo,ooo.oo recorded at Book~' Page
               _1_ in the       R.M.C.                  of Georgetown   County,      South Carolina      (the
                "Mortgage") hereby consents to the terms of this Declaration and agrees that the lien of the
               Mortgage shall be fully subordinate to the rights, title and interest of Grantee under this
               Declaration and the rights of the Grantee to enforce this Declaration. Without limitation of
               the foregoing, Mortgagee agrees that, in the event of foreclosure of the Mortgage or a
               judgment obtained under the Mortgage or any promissory note secured thereby, the Property
               described in this Declaration shall remain under and subject to the covenants and restrictions
               set forth in this Declaration, as fully as if the Mortgage was executed, delivered and recorded
               after the dates of execution, delivery and recording of this Declaration. This Joinder and
               Consent of Mortgagee shall be binding upon Mortgagee's successors and assignees as holders
               of the Mortgage and any amendment thereof.

                                                           Mortgagee:




                    Wi~
                                                              NATIONSBANK, N.A.




                                                            r:~~.~:u
                                                           Title:   Senior Vice President




                    State of South Carolina

                    County of   HORRY

                         Personally appeared before me the undersigned witness, who, being duly
                    sworn states that s/he saw the within named      NATIONSBANK. N.A.


                    by    Dale C. Zeglin                1 its Senior Vice President
                    sign, seal and as its act and deed deliver the within written Joinder and
                    Consent of t1ortgagee, and that s/he with the other witness witnessed the
                    execution thereof.



                    S\-lorn to before me this
                    ~~-day of December, 1995.




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                                        EXHIBIT A
                                    LEGAL DESCRIPTION

                                            TRACT I

All that piece, parcel or tract of land situate, lying and being in the County of Georgetown, State
of South Carolina, shown and designated as Tract B on that certain plat entitled "Map of
WeeHaw Plantation Containing 1231.3 Acres in Tax District No. 2, and 266.7 Acres in Tax
District No. 3, Total Area 1498 Acres dated November 21, 1978 prepared by Samuel M.
Harper, RLS, reference to said plat being hereby made.

Saving and excepting therefrom Tract B 144.1 acre (Old Rice Fields) and Tract B 64.9 acres
(Old Rice Fields) as shown on above referenced plat.

Saving and excepting therefrom Tracts 1, 2 and 3 as shown on a "Map of 166.34 Acres of Land
in Tax District No.2, Georgetown County, South Carolina Being a Part ofWeeHaw Plantation
surveyed for Margaret Barnwell Harvin", prepared by Samuel M. Harper, RLS, dated April 29,
1988. Said plat being recorded in Book 9, Page 467 in the Office of the Clerk of Court for
Georgetown County on May 3, 1988.

Also saving and excepting therefrom a certain 5 acre tract as shown on a sketch prepared by
Wendell Powers, RLS, dated April 24, 1995 and recorded at Slide 169, Page 5A; said sketch
also attached to deed recorded in Deed Book 627, at Page 83 in the Office of the Clerk of Court
for Georgetown County.

The said easement area being granted herein butting and bounding, measuring and containing
as follows: Beginning at the point of the intersection of U.S. Highway 701 and South Carolina
Highway 22-325, Being the Point of Beginning, thence turning and running along a line North
69 o 57' East for a distance of 3, 108 feet to a point; thence turning and running along a line
North 14°12' West for a distance of 1,401 feet to a point; thence turning and running along a
line North 57°41' West for a distance of 2,122.2 feet to a point; thence turning and running
along a line North 11 °35' West for a distance of 257.8 feet to a point; thence turning and
running along a line South 35°25' East for a distance of 411 feet to a point; thence turning and
running along a line South 35°06' West for a distance of 200 feet to a point; thence turning and
running along a line South 35°22' West for a distance of 56.06 feet to a point; thence turning
and running along a line South 84 °01' West for a distance of 116.5 feet; thence turning and
running along a line North 36°34' West for a distance of 187 feet to a point; thence turning and
running along a line North 24 °30' West for a distance of 1,630.5 feet to a point; thence turning
and running along a line North 73 o 18' West for a distance of 444.2 feet to a point; thence
turning and running along a line North 76° 18' West for a distance of 200 feet to a point; thence
turning and running along a line North 29°18' West for a distance of 64.4 feet; thence turning
and running along a line North 75°55' West for a distance of 296 feet; thence turning and
running along a line South 73°41' West for a distance of 117.4 feet to a point; thence turning
and running along a line South 62 o 19' West for a distance of 90 feet to a point; thence turning
and running along a line South 87°03' West for a distance of 167.4 feet; thence turning and
running along a line North 64 o 19' West for a distance of 183 feet to a point; thence turning and
 running along a line North 21 °19' West for a distance of 89.5 feet; thence turning and running

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                                                                                          Exhibit 2

along a line North 61 o 11' West for a distance of 166.5 feet; thence turning and running along
a line South 56°58' West for a distance of 41 feet; thence turning and running along a line North
69°00' West for a distance of 748 feet; thence turning and running along a line North 7r28'
West for a distance of 103 feet; thence turning and running along a line North 67°43' West for
a distance of 563 feet to a point at the centerline of the Black River; thence meandering along
the centerline of the river bed of the Black River in a Southerly direction to the intersection of
the centerline of the Pee Dee River; thence meandering along the centerline of the Pee Dee
River in a Westerly direction; thence turning and running along a line which is projected into
the Pee Dee River South 40°00' East for a distance of 2,650± feet to a point; thence turning
and running along a line North 44 °00' East for a distance of 900+ feet to a point; thence
turning and running along a line South 70°00' East for a distance of I ,850+ feet; thence turning
and running along a line South 35°00' East for a distance of 200± feet; thence turning and
running along a line South 70° 10' East for a distance of 359 feet to a point; thence turning and
running along a line South 46°47' East for a distance of 335.5 feet to a point; thence turning
and running along a line North 40°48' East for a distance of 560.4 feet; thence turning and
running along a line South 49 o 12' East for a distance of 25 feet; thence turning and running
along a line North 40°48' East for a distance of 375 feet; thence turning and running along a
line South 56°42' East for a distance of 162 feet; thence turning and running along a line South
56°48' East for a distance of 4,732.05 feet to a point; thence turning and running along a line
South 19°58'35" West for a distance of 300 feet; thence turning and running along a line South
56°54'40" East for a distance of 745.45 feet to a point; thence turning and running along a line
South 80°00' East for a distance of 32 feet; thence turning and running along a line North
20°00' East for a distance of 897.7 feet to a point; thence turning and running North 44°59'
East for a distance of 15.7 feet to the point of beginning.




                                                 2                             36548.1-EX (SSI) 900000-486
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                                            ALSO
                                           TRACT II

Parcel 3-489-11
All those certain pieces, parcels or tracts of land constituting rice fields situate on the Eastern
side of Black River, now or formerly known as Taylor's Island, designated as property of
Grantors, Alston, and Cain Patch and creek and Point Field, in deed from Frank G. Tarbox to
D. V. Richardson dated June 15, 1925, and recorded in the Office of the clerk of Court for
Georgetown County in Deed Book Z-1 at Page 586. Said fields taken together measure and
contain eighty-eight (88) acres, more or less, and But and bound as follows: Northeast on lands
of Vanderbilt and Pyatt; Southeast on lands of Baruch and Vanderbilt; Southwest on lands of
Vanderbilt; and Northwest on Black River.


                                              AND

Parcel 3-489-2
All that certain piece, parcel or tract of land situate, lying and being in Township No. 7,
Georgetown County, South Carolina, being more particularly shown on a plat made by White
& Gourdin, Surveyors, recorded in the Office of the Clerk of Court for Georgetown County in
Plat Book Bat Page 74, as Fields Numbered Sixteen (16) and Seventeen (17), said fields butting
and bounding, according to said plat, as follows: West by high water mark of Black River; North
and East by lands, now or formerly, of Dr. F.S. Parker and lands of Alderly Plantation; and
South by Tract Numbers 18 and 19, as shown on said plat. The said lands contain in the
aggregate fifty-five and seven-tenths (55.7) acres, more or less, and were among the lands
conveyed by Martha A. Pyatt, et. al, to Isaac E. Emerson by deed dated January 30, 1909,
recorded in the Office of the Clerk of Court for Georgetown County in Deed Book M at
Page 374.




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                                                                                               Legend
                                                               ffi]l
                                                               Conservation Easement Area
                                                788 +/· Acre



                                                                                            Tract 1
                            Weehaw Plantation
     Georgetown County, South Carollna




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                     ∼Weehaw Plantation∼

                    Habitat Description Report
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                                                                                    Exhibit 2
        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 1




                                         Photo 2
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                                                                                    Exhibit 2
        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 3




                                         Photo 4
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 5




                                         Photo 6
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 7




                                         Photo 8
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 9




                                        Photo 10
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          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 11




                                        Photo 12
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        WEEHAW PLANTATION CONSERVATION EASEMENT
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          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 13




                                        Photo 14
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          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
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                                         Photo 15




                                        Photo 16
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 17




                                        Photo 18
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 19




                                        Photo 20
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 21




                                        Photo 22
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        WEEHAW PLANTATION CONSERVATION EASEMENT
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          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 23




                                        Photo 24
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 25




                                        Photo 26
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        WEEHAW PLANTATION CONSERVATION EASEMENT
                        PHOTOGRAPHIC DOCUMENTATIION
          Photographs taken by Christopher R. Wilson, NALT Conservation Biologist
                                      March 26, 2003




                                         Photo 27
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                                                                                            LEGEND

                                                                                                      Property Boundary




                                                                                            NOTES
                                       TRACT 1
                                                                                            1. The location map is strictly for illustrative
                                                                                            uses only. The boundaries indicated are not
                                                                                            to be deemed accurate. For an accurate
                                                                                            description of the Boundaries refer to Exhibits
                                                                                            A & B in the baseline documentation.




                                                                                                                  NORTH
                                                  TRACT 2
      Georgetown




                                                                                                                                                    FEET
                                                                                                      1000


                                                                                                               2000




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                                                                                             0
                                                                               Revisions:

Weehaw Plantation                                                                                               N         A   L                T
  Georgetown County                        PROXIMITY MAP                                                       North American Land Trust
                                                                                                                              P.O. Box 467
                                                                                                                              100 Hickory Hill Rd
                                                                                                                              Chadds Ford


    South Carolina                                                                                                            Pennsylvania, 19317
                                                                                                                              Tel: (610) 388-3670
                                                                                                                              Fax: (610) 388-3673
                           2:22-cv-00874-MBS Date Filed 03/16/22 Entry Number 1-2 Page 72 of 73
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                                                       TRACT 1                                                                 TRACT 2




LEGEND                                 NOTES
                                        1. Soils information source: United States Department of
                                        Agriculture
    Property Boundary
                                        2. Flood plain information source: Federal Emergency
    FEMA 100 yr Floodplain              Management Agency (FEMA)




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                                                                                Scale: 1"=500'            NORTH




                                                                                                                  Revisions:

 Weehaw Plantation                                                                                                                 N      A      L                T
    Georgetown County                                                 BASE MAP                                                    North American Land Trust
                                                                                                                                                 P.O. Box 467
                                                                                                                                                 100 Hickory Hill Rd
                                                                                                                                                 Chadds Ford


      South Carolina                                                                                                                             Pennsylvania, 19317
                                                                                                                                                 Tel: (610) 388-3670
                                                                                                                                                 Fax: (610) 388-3673
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                                                       TRACT 1                                                                TRACT 2




LEGEND                                 NOTES
                                        1. Soils information source: United States
                                        Department of Agriculture
    Property Boundary
                                        2. Flood plain information source: Federal
    Description xxxx                    Emergency Management Agency (FEMA)



    Description xxxx


    Description xxxx                                                                              FEET
                                                                                           1000



                                                                                                  2000
                                                                                     500
                                                                               0




                                                                                Scale: 1"=500'           NORTH




                                                                                                                 Revisions:

 Weehaw Plantation                                                                                                                N      A      L                T
    Georgetown County                                           AERIAL PHOTO                                                     North American Land Trust
                                                                                                                                                P.O. Box 467
                                                                                                                                                100 Hickory Hill Rd
                                                                                                                                                Chadds Ford


      South Carolina                                                                                                                            Pennsylvania, 19317
                                                                                                                                                Tel: (610) 388-3670
                                                                                                                                                Fax: (610) 388-3673
